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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                                        :
 GOLDEN UNICORN ENTERPRISES INC. et al, on                              :
 behalf of themselves and all others similarly situated,                :
                                                                        :    21-CV-7059 (JMF)
                                     Plaintiffs,                        :
                                                                        :          ORDER
                   -v-                                                  :
                                                                        :
 AUDIBLE, Inc.,                                                         :
                                                                        :
                                     Defendant.                         :
                                                                        :
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JESSE M. FURMAN, United States District Judge:

        On November 1, 2021, Defendant filed a motion to dismiss the complaint under Rule
12(b) of the Federal Rules of Civil Procedure. See ECF No. 16. Under Rule 15(a)(1)(B), a
plaintiff has twenty-one (21) days after the service of a motion under Rule 12(b) to amend the
complaint once as a matter of course.

       Accordingly, it is hereby ORDERED that Plaintiffs shall file any amended complaint by
November 22, 2021. Plaintiffs will not be given any further opportunity to amend the complaint
to address issues raised by the motion to dismiss.

        If Plaintiffs do amend, by three (3) weeks after the amended complaint is filed, Defendant
shall: (1) file an answer; (2) file a new motion to dismiss; or (3) file a letter on ECF stating that it
relies on the previously filed motion to dismiss. If Defendant files an answer or a new motion to
dismiss, the Court will deny the previously filed motion to dismiss as moot. If Defendant files a
new motion to dismiss, any opposition shall be filed within fourteen days, and any reply shall be
filed within seven days of any opposition.

       If no amended complaint is filed, Plaintiffs shall file any opposition to the motion to
dismiss by November 22, 2021. Defendant’s reply, if any, shall be filed by November 29,
2021.

     Finally, it is further ORDERED that the initial pretrial conference scheduled for
November 30, 2021 remains in effect.

        SO ORDERED.

Dated: November 2, 2021                                    __________________________________
       New York, New York                                           JESSE M. FURMAN
                                                                  United States District Judge
